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Daniel S March, SBN#106854
marchlawoffice@gmail.com
17291 Irvine Blvd., Suite 101
Tustin, CA 9278

Telephone: (714) 665-4223
Facsimile: (714) 665-4323

Attorneys for Daniel S. March

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UNITED STATES BANKRUPTCY COURT

CENTRAL DISTRICT OF CALIFORNIA

SANTA ANA DIVISION

In re:

THE LITIGATION PRACTICE GROUP P.C.

Debtor.

RICHARD A MARSHACK, Chapter 11
Trustee,

Plaintiff,

-YS-

Tony Diab, Daniel E. March, et al.,

Case No. 8:23-bk-10571-SC
Adv. Proc. No. 8:23-ap-01046-SC

Chapter 11

DANIEL S. MARCH ANSWER TO
SECOND AMENDED COMPLAINT FOR:
(1) INJUNCTIVE RELIEF; (2) AVOIDANCE
RECOVERY, AND PRESERVATION OF
TWO-YEAR ACTUAL FRAUDULENT
TRANSFERS; (3) AVOIDANCE,
RECOVERY, AND PRESERVATION OF
TWO-YEAR CONSTRUCTIVE
FRAUDULENT TRANSFERS; (4)
AVOIDANCE, RECOVERY, AND
PRESERVATION OF FOURT-YEAR

ACTUAL FRAUDULENT TRANSFERS; (5)

AVOIDANCE, RECOVERY, AND
PRESERVATION OF FOUR-YEAR
CONSTRUCTIVE FRAUDULENT

TRANSFERS; AND (6) TURNOVER

ANSWER TO SECOND AMENDED COMPLAINT

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Defendant, Daniel S. March, (“Defendant”), defendant in the above entitled proceeding,
hereby submit the within answer in response to Plaintiff's Second Amended Complaint for (1)
injunctive Relief; (2) Avoidance, Recovery, and Preservation of Two-year Actual Fraudulent
Transfers; and (3) Avoidance, Recovery, and Preservation of Two-Year Constructive Fraudulent
Transfers; (4) Avoidance, Recovery, and Preservation of Four-Year Actual Fraudulent Transfers;
(5) Avoidance, Recovery, and Preservation of Four-Year Constructive Fraudulent Transfers; and

(6) Turnover.

1. In response to paragraph | of the Amended Complaint, Defendant lack sufficient
Information to admit or deny the allegations and on such basis deny the allegations.
2. In response to paragraph 2 of the Amended Complaint, Defendant admits the
allegations.
3. In response to paragraph 3 of the Amended Complaint, Defendant admits the
allegations.
4, In response to paragraph 4 of the Amended Complaint, Defendant admits the
allegations.
5. In response to paragraph 5 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

6. In response to paragraph 6 of the Amended Complaint, Defendant lacks sufficient

| information to admit or deny the allegations and on such basis deny the allegations.

7. In response to paragraph 7 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.
8. In response to paragraph 8 of the Amended Complaint, Defendant lacks sufficient

information to admit or deny the allegations and on such basis deny the allegations.

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9. In response to paragraph 9 of the Amended Complaint, Defendant lacks sufficient

information to admit or deny the allegations and on such basis deny the allegations.

10. In response to paragraph 10 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

11. In response to paragraph 11 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

12. In response to paragraph 12 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

13. In response to paragraph 13 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

14. In response to paragraph 14 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

15. In response to paragraph 15 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

16, In response to paragraph 16 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

17, In response to paragraph 17 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

18, In response to paragraph 18 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

19. In response to paragraph 19 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

20. In response to paragraph 20 of the Amended Complaint, Defendant lacks sufficient

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information to admit or deny the allegations and on such basis deny the allegations.

21. In response to paragraph 21 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

22. In response to paragraph 22 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

23. In response to paragraph 23 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

24. In response to paragraph 24 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

25. In response to paragraph 25 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

26. In response to paragraph 26 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

27. In response to paragraph 27 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

28. In response to paragraph 28 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

29, In response to paragraph 29 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

30. In response to paragraph 30 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

31. In response to paragraph 31 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

32. In response to paragraph 32 of the Amended Complaint, Defendant lacks sufficient

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information to admit or deny the allegations and on such basis deny the allegations.

33. In response to paragraph 33 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

34. In response to paragraph 34 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

35. In response to paragraph 35 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

36. In response to paragraph 36 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

37. In response to paragraph 37 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

38. In response to paragraph 38 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

39. In response to paragraph 39 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

40, In response to paragraph 40 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

41. In response to paragraph 41 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

42, In response to paragraph 42 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

43, In response to paragraph 43 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

44, In response to paragraph 44 of the Amended Complaint, Defendant lacks sufficient

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information to admit or deny the allegations and on such basis deny the allegations.
45. In response to paragraph 45 of the Amended Complaint, Defendant.lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

46. In response to paragraph 46. of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

47, In response to paragraph 47 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

48. In response to paragraph 48 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

49. In response to paragraph 49 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis deny the allegations.

50. In response to paragraph 50 of the amended Complaint, Defendant admits that LPG is a
law firm that provides legal services including assistance with consumer debts and that LPG
serviced more than 50,000 customers across the United States. Defendant denies the balance of the
allegations.

51. In response to paragraph 51 of the Amended Complaint, denies the allegations.

52. In response to paragraph 52 of the Amended Complaint, denies the allegations.

53. In response to paragraph 53 of the Amended Complaint, Defendant admits that John
Thompson was the original sole shareholder of LPG, and he conveyed his interest in LPG to March
in November 2019. Defendant denies the balance of the allegations.

54. In response to paragraph 54 of the Amended Complaint, Defendant denies the
allegations.

55. In response to paragraph 55 of the Amended Complaint , Defendant admits that

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marketing affiliated refer clients of LPG who were victims of predatory lending or who

are subject to claims for large debt that are not legally valid under applicable law and that clients
pay fees to LPG over a period of time, ranging from 18 to 30 months, through monthly debits from
their bank accounts. Defendant denies the balance of the allegations.

56. In response to paragraph 56 of the Amended Complaint, Defendant admits that once a
new client had executed the retainer and payment plan contract, and provided bank ACH
information, LPG is responsible for servicing the client legal matters and that LPG utilized
software such as DebtPayPro (“DPP”0 and LUNA to facilitate client communications, track
payments information and send correspondence on behalf of clients to creditors, collections
agencies, and/ or credit bureaus via U.S Mail, facsimile, and/or email. Defendant further admits that
some cases resulted in the disputed debt being corrected on the client’s credit report, some resulted
in debt settlement, which the chent was responsible to pay in addition to payment plan. Defendant
further admits that LPG will also file lawsuits in an effort to eliminate a disputed debt. Defendant
denies the balance of the allegations.

57. In response to paragraph 57 of the Amended Complaint, Defendant denies the
allegations.

58. In response to paragraph 58 of the Amended Complaint, Defendant denies the
allegations.

59. In response to paragraph 59 of the Amended Complaint, Defendant denies the
allegations.

60. In response to paragraph 60 of the Amended Complaint, Defendant denies the
allegations.

61. In response to paragraph 61 of the Amended Complaint, Defendant denies the

allegations.

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62. In response to paragraph 62 of the Amended Complaint, Defendant admits the

allegations.

63. In response to paragraph 63 of the Amended Complaint, Defendant admits the

allegations.

64. In response to paragraph 64 of the Amended Complaint, Defendant admits the

allegations.

65. In response to paragraph 65 of the Amended Complaint, Defendant admits the

allegations.

66. In response to paragraph 66 of the Amended Complaint, Defendant denies the

allegations.

67. In response to paragraph 67 of the Amended Complaint, Defendant denies the

allegations.

68. In response to paragraph 68 of the Amended Complaint, Defendant denies the

allegations.

69, In response to paragraph 69 of the Amended Complaint, Defendant denies the

allegations.

70. In response to paragraph 70 of the Amended Complaint, Defendant denies the

allegations.

71. In response to paragraph 71 of the Amended Complaint, Defendant denies the

allegations.

72. In response to paragraph 72 of the Amended Complaint, Defendant denies the

allegations.

73. In response to paragraph 73 of the Amended Complaint, Defendant admits the

allegations.

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74. In response to paragraph 74 of the amended Complaint, Defendant repeats and
incorporates the responses to each allegation in the paragraphs, identified.

75. In response to paragraph 75 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis denies the allegations,

76. In response to paragraph 76 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis denies the allegations.

77. In response to paragraph 77 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis denies the allegations.

78. In response to paragraph 78 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis denies the allegations.

79. In response to paragraph 79 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis denies the allegations.

80. In response to paragraph 80 of the amended Complain, Defendant lacks sufficient
information to admit or deny the allegations and on such basis denies the allegations.

81. In response to paragraph 81 of the amended Complain, Defendant lacks sufficient
information to admit or deny the allegations and on such basis denies the allegations.

82. In response to paragraph 82 of the amended Complain, Defendant lacks sufficient
information to admit or deny the allegations and on such basis denies the allegations.

83. In response to paragraph 83 of the Amended Complaint, Defendant denies the
allegations.

84. In response to paragraph 84 of the Amended Complaint, Defendant denies the
allegations,

85. In response to paragraph 85 of the Amended Complaint, Defendant denies the:

allegations.

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86. In response to paragraph 86 of the Amended Complaint, Defendant denies the
allegations.

87. In response to paragraph 87 of the Amended Complaint, Defendant denies the
allegations.

88. In response to paragraph 88 of the Amended Complaint, Defendant denies the
allegations.

89. In response to paragraph 89 of the Amended Complaint, Defendant denies the
allegations.

90. In response to paragraph 90 of the Amended Complaint, Defendant denies the
allegations.

91. In response to paragraph 91 of the Amended Complaint, Defendant denies the
allegations.

92. In response to paragraph 90 of the Amended Complaint, Defendant denies the
allegations.

93. In response to paragraph 93 of the amended Complaint, Defendant repeats and -
incorporates the responses to each of the allegations in the paragraphs identified.

94. In response to paragraph 94 of the Amended Complaint, Defendant denies the
allegations.

95. In response to paragraph 95 of the Amended Complaint, Defendant denies the
allegations.

96. In response te paragraph 96 of the Amended Complaint, Defendant denies the
allegations,

97. In response to paragraph 97 of the Amended Complaint, Defendant denies the

allegations.

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1 98. In response to paragraph 98 of the Amended Complaint, Defendant denies the
2 | allegations.
3 99. In response to paragraph 99 of the amended Complain, Defendant lacks sufficient
4
information to admit or deny the allegations and on such basis denies the allegations.
5
é 100. Inresponse to paragraph 100 of the amended Complain, Defendant lacks sufficient
7 information to admit or deny the allegations and on such basis denies the allegations.
g 101. In response to paragraph 101 of the amended Complaint, Defendant repeats and
9 || incorporates the responses to each allegation in the paragraphs, identified.
10 102. Inresponse to paragraph 102 of the amended Complain, Defendant lacks sufficient
11 information to admit or deny the allegations and on such basis denies the allegations.
12]
103. In response to paragraph103 of the Amended Complaint, Defendant denies the
13
allegations.
14 . .
15 104. In response to paragraph 104 of the Amended Complaint, Defendant denies the
1G | allegations.
17 105. In response to paragraph 105 of the Amended Complaint, Defendant denies the
18 allegations.
Ll) 106. In response to paragraph 106 of the Amended Complaint, Defendant denies the
20
allegations.
21
7 107. In response to paragraph 107 of the Amended Complaint, Defendant denies the
93 allegations.
24 108.  Inresponse to paragraph 108 of the Amended Complaint, Defendant denies the
29 | allegations.
26 109. In response to paragraph 109 of the Amended Complaint, Defendant denies the
27 .
allegations.
28

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110.  Inresponse to paragraph 110 of the Amended Complaint, Defendant denies the

1
2 | allegations.
3 111. Inresponse to paragraph 111 of the Amended Complaint, Defendant denies the
4 .
allegations.
5
6 112. In response to paragraph 112 of the Amended Complaint, Defendant denies the
7 allegations.
g 113.  Inresponse to paragraph 113 of the amended Complain, Defendant lacks sufficient
9 || information to admit or deny the allegations and on such basis denies the allegations.
10 114. In response to paragraph 114 of the Amended Complaint, Defendant denies the
1] allegations.
12 .
115.  Inresponse to paragraph 115 of the Amended Complaint, Defendant denies the
13
allegations.
14]
15 116.  Inresponse to paragraph 116 of the amended Complain, Defendant lacks sufficient
16 || information to admit or deny the allegations and on such basis denies the allegations.
17 117. Inresponse to paragraph 117 of the amended Complain, Defendant lacks sufficient
18

information to admit or deny the allegations and on such basis denies the allegations.

Lo 118. In response to paragraph 118 of the Amended Complaint, Defendant denies the
20

allegations,
21
29 119,  Inresponse to paragraph 119 of the amended Complaint, Defendant repeats and
93 incorporates the responses to each of the allegations in the paragraphs identified.
9A 120. In response to paragraph 120 of the Amended Complaint, Defendant denies the
25 | allegations.
26 121. In response to paragraph 121 of the Amended Complaint, Defendant denies the
27 .

allegations.
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122.  Inresponse to paragraph 122 of the Amended Complaint, Defendant denies the
allegations.

123. In response to paragraph 123 of the Amended Complaint, Defendant denies the
allegations.

124. In response to paragraph 142 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis denies the allegations,

125. In response to paragraph 125 of the Amended Complaint, Defendant denies the
allegations.

126.  Inresponse to paragraph 126 of the Amended Complaint, Defendant denies the
allegations.

127. In response to paragraph 127 of the Amended Complaint, Defendant lacks sufficient

information to admit or deny the allegations and on such basis denies the allegations.

128. ‘In response to paragraph 128o0f the Amended Complaint, Defendant denies the
allegations.

129. In response to paragraph 129 of the Amended Complaint, Defendant denies the
allegations,

130. In response to paragraph 1300f the amended Complaint, Defendant repeats and

incorporates the responses to each of the allegations in the paragraphs identified.

131.  Inresponse to paragraph 131 of the Amended Complaint, Defendant denies the
allegations.

132. Inresponse to paragraph 132 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis denies the allegations.

133.  Inresponse to paragraph 133 of the Amended Complaint, Defendant lacks sufficient

information to admit or deny the allegations and on such basis denies the allegations.

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134. In response to paragraph 134 of the Amended Complaint, Defendant denies the
allegations.
135. In response to paragraph 135 of the Amended Complaint, Defendant lacks sufficient
information to admit or deny the allegations and on such basis denies the allegations.
AFFIRMATIVE DEFENSES
136. The amended Compliant fails to state a cause of action upon which relief can be
granted.
second Affirmative Defense
137. The alleged transfers, if any, were made in good faith.
- Third Affirmative Defense
138. The Debtor received reasonably equivalent value for each of the alleged transfers, if
any.
Four Affirmative Defense
139. The Debtor as not insolvent on the date that such transfer was made or became
msolvent as a result of such transfer. °
Fifth Affirmative Defense
140. =‘ The alleged transfers, if any, are subject to Defendant’s rights of setoff and / or
recoupment with respect to pre- and/or post-petition claims against the Debtor.
Sixth Affirmative Defense
141. Defendant was mere conduit for otherwise unavoidable transfers by the Debtor.
Seventh Affirmative Defense
142. The alleged transfers, if any, were not property of the estate.

RESERVATION OF RIGHTS

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Defendant reserves the right to raise additional defenses to the extent further facts and
information are discovered.

WHEREFORE, Defendants prays for Judgment as follows:

1. That Plaintiff takes nothing in the way of its Amended Complaint.

2. For costs incurred herein.

3. For such other and further relief that the Cour

DATED: November A D 2023,

e.

By: ‘Daniel S. March, Esq.

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DEMAND FOR JURY TRIAL

Daniei 8. March hereby demands trial by jury.

Wf

DATED: November JU. 2023

Desc

7 VT
By: Daniel S. March, ESQ

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e Andrew Still astill@swlaw.com, kcollins@swlaw.com

¢ United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

¢ Johnny White JWhite@wrslawyers.com, jlee@wrslawyers.com
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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

17291 Irvine Blvd., Suite 101.
Tustin, CA 92780

A true and correct copy of the foregoing document entitled (specify): Answer to Second Amended Complaint

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
“re B24 BB, se foregsing document will be served by the court via NEF and hyperlink to the document. On (date)

| checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
sofa persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below

Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On (date} , | served the following persons and/or.entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a trué and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

[_] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR 1] eT method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) {| | served
the following persons and/or entities by personal delivery, overnight mail service, or (for those wifo congented in writing to
such service method}, by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Hon. Scott Clarkson

411 West Fourth Street, Suite 5130

Santa Ana, CA 92701

[| Service information continued on attached page

| declare under penalty of ap under the laws of the United States that the LPL is true and t,
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Date * Pitegpame a“ Lt |

This form is mandatory. It has been approved for use by the United States Bankruptpy Court for the Central District of Califomia.

June 2012 . F 9913-3.1.PROOF.SERVICE
